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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7       IN RE CALIFORNIA GASOLINE SPOT                    Case No. 3:20-cv-03131-JSC
                                           MARKET ANTITRUST LITIGATION
                                   8
                                                                                             ORDER RE: PLAINTIFFS’ RENEWED
                                   9                                                         MOTION FOR SERVICE AWARDS

                                  10                                                         Re: Dkt. No. 635

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                                  12
Northern District of California
 United States District Court




                                  13            On March 14, 2025, the Court granted Plaintiffs’ motion for final approval of the class

                                  14   action settlement and granted in part and denied in part Plaintiffs’ motion for attorneys’ fees,

                                  15   costs, and service awards for the representative Plaintiffs. (Dkt. No. 631.1) As relevant here, the

                                  16   Court denied Plaintiffs’ request for service awards because Plaintiffs failed to justify the requested

                                  17   awards with any evidence demonstrating the quantity or quality of the Settlement Class

                                  18   Representatives’ service. (Id. at 18.) Plaintiffs’ unopposed motion for leave to file a renewed

                                  19   motion for service awards and renewed motion for service awards is now pending before the

                                  20   Court. (Dkt. No. 635.) Having considered the motion and the relevant legal authority, the Court

                                  21   concludes that oral argument is unnecessary, see Civ. L.R. 7-1(b), and GRANTS the motion.2

                                  22                                               DISCUSSION

                                  23            In evaluating a request for a service award (also referred to as an “incentive award”) in

                                  24   class action settlement approvals, courts consider “the actions the plaintiff has taken to protect the

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                                        Record citations are to material in the Electronic Case File (“ECF”); pinpoint citations are to the
                                       ECF-generated page numbers at the top of the documents.
                                  27   2
                                        Although the Court entered final judgment on March 24, 2025, the Court retained jurisdiction
                                  28   over certain settlement-related administrative matters, including service awards. (Dkt. No. 633 at ¶
                                       7.)
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                                   1   interests of the class, the degree to which the class has benefitted from those actions ... [and] the

                                   2   amount of time and effort the plaintiff expended in pursuing the litigation.” Staton v. Boeing Co.,

                                   3   327 F.3d 938, 977 (9th Cir. 2003). Incentive awards “are intended to compensate class

                                   4   representatives for work done on behalf of the class, to make up for financial or reputation risk

                                   5   undertaken in bringing the action, and, sometimes to recognize their willingness to act as a private

                                   6   attorney general.” Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 958-59 (9th Cir. 2009). The

                                   7   decision to approve an incentive award is a matter within the court’s discretion. In re Mego Fin.

                                   8   Corp. Sec. Litig., 213 F.3d 454, 463 (9th Cir. 2000).

                                   9          In determining whether an incentive award is reasonable, courts generally consider:

                                  10                  (1) the risk to the class representative in commencing a suit, both
                                                      financial and otherwise; (2) the notoriety and personal difficulties
                                  11                  encountered by the class representative; (3) the amount of time and
                                                      effort spent by the class representative; (4) the duration of the
                                  12                  litigation; and (5) the personal benefit (or lack thereof) enjoyed by the
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                                                      class representative as a result of the litigation.
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                                       Covillo v. Specialtys Café, No. C–11–00594-DMR, 2014 WL 954516, at *8 (N.D. Cal. Mar. 6,
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                                       2014) (quoting Van Vranken v. Atl. Richfield Co., 901 F. Supp. 294, 299 (N.D. Cal. 1995)). A
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                                       class representative must justify an incentive award through “evidence demonstrating the quality
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                                       of plaintiff’s representative service,” such as “substantial efforts taken as class representative to
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                                       justify the discrepancy between [his] award and those of the unnamed plaintiffs.” Alberto v.
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                                       GMRI, Inc., 252 F.R.D. 652, 669 (E.D. Cal. 2008). Further, district courts must evaluate each
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                                       incentive award individually. See Staton, 327 F.3d at 977.
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                                              Plaintiffs seek incentive awards of $5,000 each for the three Settlement Class
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                                       Representatives: Fricke-Parks Press, Inc., Bogard Construction, Inc., and Ritual Coffee Roasters,
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                                       Inc. Plaintiffs contend the awards are warranted because they (1) assumed reputational and
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                                       financial risk by publicly associating their businesses with litigation challenging major players in
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                                       the California gasoline market; and (2) spent dozens of hours over nearly five years responding to
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                                       discovery, sitting for depositions, and coordinating with counsel through class certification and
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                                       ultimately a successful mediation. The Settlement Class Representatives have now submitted
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                                       declarations in support of the request attesting they spent between 20-59 hours on the litigation.
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                                   1   (Dkt. No. 635-1, Fricke-Parks Decl. at ¶¶ 5-7 (attesting to over 16 hours reviewing and compiling

                                   2   documents, a half-day deposition, and over 20 phone conferences with counsel); Dkt. No. 635-2,

                                   3   Bogard Decl. at ¶ 7 (attesting to “no less than 50 hours over the course of the litigation); Dkt. No.

                                   4   635-3, Ritual Decl. at ¶ 10 (“In total, Ritual spent approximately fifty-nine hours participating in

                                   5   this litigation.”).

                                   6           Given the above, the Court is satisfied the Settlement Class Representatives’ individual

                                   7   contributions to this case warrant an incentive award. Further, the requested $5,000 incentive

                                   8   award is reasonable and does not “undermine the adequacy of the class representatives.” Radcliffe

                                   9   v. Experian Info. Sols. Inc., 715 F.3d 1157, 1163 (9th Cir. 2013). Accordingly, the Court

                                  10   GRANTS Plaintiff’s motion and awards the three Settlement Class Representatives Fricke-Parks

                                  11   Press, Inc., Bogard Construction, Inc., and Ritual Coffee Roasters, $5,000 each.

                                  12           This Order disposes of Docket No. 635.
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 United States District Court




                                  13           IT IS SO ORDERED.

                                  14   Dated: April 30, 2025

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                                                                                                     JACQUELINE SCOTT CORLEY
                                  16                                                                 United States District Judge
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